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                                                                            10/17/2023
                                                                   DEBORAH S. HUNT, Clerk
                  UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT

Case Number: 22-3952
Case Name: John Koe v. University Hospitals Health Systems, Inc.
Name: John Koe
Address: PO Box 527
City:   Novelty                              State: OH    Zip Code: 44072-0527
Email: john@johnkoe.org



                      PRO SE APPELLANT'S BRIEF


1. Did the District Court incorrectly decide the facts? Not sure.



   The District Court did not have the occasion to decide the facts in the case

   because it dismissed the case for “lack of jurisdiction” during initial

   screening under 28 U.S.C. § 1915. Accordingly, the issues presented in this

   appeal all center around questions of law that the Court reviews de novo.




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2. Do you think the District Court applied the wrong law? Yes.

  If so, what law do you want applied?



  Regarding the district court’s erroneous conclusion with respect to “lack of

  jurisdiction”:

        Article III of the Constitution and following the reasoning

        articulated in B.R. v. F.C.S.B., No. 21-1005 (4th Cir. Nov. 2, 2021)

        where the Fourth Circuit declined to follow the decision in Nat’l

        Commodity & Barter Ass’n, Nat’l Commodity Exch. v. Gibbs, 886 F.2d

        1240, 1245 (10th Cir. 1989) characterizing the Tenth Circuit's language

        as a “drive-by jurisdictional ruling” which did not truly consider

        whether the use of a pseudonym deprives the court of power to hear

        the case per Steel Co. v. Citizens for Better Env't, 523 U.S. 83 (1998).



  Regarding the district court’s improvident grant of defendant’s requested

  order prohibiting Koe from communicating with other employees:



        The Norris-LaGuardia Act, 29 U.S.C. § 101 et seq.; and



        The First Amendment of the Constitution and the well-established


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jurisprudence regarding the need to carefully exercise restraint of

inherent powers especially against the rights guaranteed under the

First Amendment of the Constitution. See e.g. Gulf Oil Co. v. Bernard,

452 U.S. 89 (1981)(holding that a court limiting plaintiffs’

communications including their efforts to make other employees

aware of a lawsuit was an unconstitutional prior restraint on

expression accorded First Amendment protection); Gilliard v.

McWilliams, 315 F. Supp. 3d 402, 410 n.3 (D.D.C. 2018)

(recognizing Rule 26(c) only affords power to regulate discovery and

does not permit a court to purport to control the use and

dissemination of information obtained through means other than

discovery.”); The Courier-Journal v. Marshall, 828 F.2d 361, 364 (6th

Cir. 1987) (upholding a protective order that "limit[ed] access only to

specified fruits of discovery"); In re Rafferty, 864 F.2d 151, 155 (D.C.

Cir. 1988) (protective order may not restrict party's use of information

obtained before the litigation began);Seattle Times Co. v. Rhinehart, 467

U.S. 20, 34, 104 S.Ct. 2199, 81 L.Ed.2d 17 (1984) (party subject to

protective order is not precluded from disseminating "protected"

information that party obtained other than through discovery); Int'l

Prods. Corp. v. Koons, 325 F.2d 403, 408 (2d Cir. 1963) (court may not


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        bar party from disseminating information obtained independent of

        discovery).



3. Do you feel that there are any other reasons why the Court's judgment was

  wrong? Yes.



        The district court’s (1) erroneous judgment dismissing Koe’s action

  under 28 U.S.C. § 1915(e) based on its erroneous conclusion that it lacked

  jurisdiction and (2) refusal to vacate that judgment were prejudicial, had

  the effect of denying Koe his day in court and ability to have his case

  decided on its merits.

        While the court dismissed the Koe’s complaint and action “without

  prejudice” the effect of the dismissal arguably operated as one with

  prejudice because the 90-day period triggered by Koe’s receipt of the

  EEOC’s right-to-sue letter expired the day after filed he timely filed his

  complaint on August 15, 2022. The district court’s judgment entered on

  October 13, 2023 dismissing Koe’s action created room for argument that

  any amended complaint he refiled was untimely and did not relate back to

  his original filing. The district court’s Order and Opinion dismissing Koe’s

  action incorrectly implied that Koe did not commence his action under


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Fed R. Civ. P. 3 when he filed his original complaint using a pseudonym.

In short, the district court’s dismissal left Koe facing an argument that his

action was time-barred. Defendants previewed their argument that Koe

would be time-barred if he re-filed and urged the district court to dismiss

Koe’s action with prejudice in their Motion to Dismiss filed on September

16, 2022.

      The district court’s final decision with respect to Koe’s motion to

proceed under a pseudonym before the issue was fully briefed or argued

deprived the district court of an occasion to carefully consider the issue and

circumstances warranting leave. The district court’s dismissal precluded

development of the record and introduction of supporting evidence on the

issue. Accordingly, the current record is insufficiently developed for

appellate review and a determination that would be conclusive and final as

to whether the circumstances and the balance of interests warrant granting

Koe leave to proceed by pseudonym. As leave to proceed under a

pseudonym ultimately lies within the sound discretion of the trial court,

this issue best left for the district court to reconsider on remand with the

benefit of additional facts and evidence as well as full briefing and

argument by the parties.




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4. What specific issues do you wish to raise on appeal?



   With respect to the District Court’s dismissal of Koe’s action the issues are:



           Whether the district court erred in concluding that its decision to

           deny Koe leave to proceed under a pseudonym deprived the court

           of jurisdiction and dismissing Koe’s action under 28 U.S.C. §

           1915(e) as a result?



           Whether the district court erred in failing to specify for which the

           reasons enumerated under 28 U.S.C. § 1915(e) it was dismissing

           Koe’s action?



           Alternatively, should this Court, in the interests of justice, remand

           the case for further proceedings so that Koe’s action regarding

           employment discrimination and retaliation may be decided on its

           merits?




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The issues presented with respect to the District Court’s grant of the order

prohibiting Koe from communicating with defendants in a suit related to

the terms and conditions of employment:



        Whether the district court exceeded its authority in issuing the

        order enjoining Koe from communicating with Defendants’

        employees and affiliates when:



        (a)      federal labor policy under the Norris-LaGuardia Act

                 precludes district courts from issuing injunctive orders that

                 restrain individual workers’ exercise of the freedom of

                 association or that otherwise interfere with the rights of

                 workers to act for mutual aid or protection. 29 U.S.C. §§

                 101, 102, 104.



        (b)      district courts lack the power to grant injunctive relief in

                 the context of a labor dispute without holding an

                 evidentiary hearing, making specific findings of fact, and

                 requiring a bond under the Norris-LaGuardia Act, 29

                 U.S.C. § 107.



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           (c)     Rule 26(c) only affords district courts the power to

                   regulate discovery for good cause, and does not permit a

                   court to otherwise restrain or interfere with a party’s

                   exercise of rights guaranteed by the First Amendment.



Plaintiff-Appellant Koe contends the answer to all questions is “Yes.”




5. What action do you want the Court of Appeals to take in this case?




   i.      Appoint Koe counsel or alternatively invite amici to file briefs so

   that the Court may benefit from competent briefing and argument on the

   important questions of law involved in this appeal.

   ii.     Vacate the district court’s order restraining Koe from exercising his

   rights protected the federal labor policy under the Norris-LaGuardia Act as

   well as his rights guaranteed by First Amendment.

   iii.    Remand the case for further proceedings so that Koe’s action

   regarding employment discrimination and retaliation may be decided on

   its merits, and on remand:



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            a.     Direct the District Court to grant leave to file an amended

            complaint that will relate back to the original filing and to extend

            time for service of process.

            b.     Direct the District Court to reconsider and decide the issue

            ofKoe's request for leave to proceed under a pseudonym after it

            has been fully briefed and argued by the parties.

            c.     Direct the District Court to appoint the plaintiff counsel

            pursuant to the authority under 28 U.S.C. § 1915 or 42 U.S.C.

            §2000e-(5)(f)(l) as a remedy tailored to check and deter the

            defendants and their counsel from further abuse of the court's

            processes.




I certify that a copy of this brief was filed with the Court and sent to opposing

counsel via electronic mail on the 17th day of October, 2023.


                                      Signature
                                           M~ ·~



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